               Case 2:12-cr-00339-RSM Document 67 Filed 01/11/21 Page 1 of 3




 1

 2

 3

 4

 5

 6                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 7                                          AT SEATTLE

 8    UNITED STATES OF AMERICA,
                                                         CASE NO. CR12-339-RSM
 9
                      Plaintiff                                   CR16-7-RSM
10
              v.                                         ORDER DENYING THIRD MOTION FOR
11                                                       COMPASSIONATE RELEASE
      NATHANIEL WELLS,
12
                      Defendant.
13

14
            This matter comes before the Court on the Third Motion for Compassionate Release filed
15
     by Defendant Nathaniel Wells. Case No. 16-cr-339-RSM, Dkt. #66, Case No. 16-cr-7-RSM, Dkt
16

17   #478. Mr. Wells, an inmate at FCI Sheridan in Oregon, again seeks entry of an order pursuant

18   to Title 18 USC § 3582(c) releasing him from confinement subject to a period of supervised

19   release. Id. at 1. It is unclear from this filing whether or not he is attempting to file a new motion
20   or a motion for reconsideration. See id. at 3 (“Mr. Wells asks this Court to amend it’s judgment
21
     order in this case to reflect on current pandemic and confinement conditions.”). He does not
22
     appear to have exhausted his administrative remedies for a new motion as required by the
23
     applicable statute. The Court has determined that it can rule without responsive briefing and that
24

25   an evidentiary hearing is unnecessary.

26

27


     ORDER DENYING MOTION FOR COMPASSIONATE RELEASE – 1
               Case 2:12-cr-00339-RSM Document 67 Filed 01/11/21 Page 2 of 3




             As an initial matter, the Court notes that Mr. Wells has a pending direct appeal. See Case
 1

 2   No. 16-cr-7-RSM, Dkt #460. At this time, the Court may either defer, deny, or issue an indicative

 3   ruling on this Motion pursuant to Rule 37.

 4           The Court agrees with the following procedural history and analysis from the
 5
     Government, previously included in the last Order from the Court on this topic:
 6
                    …[W]ith assistance of counsel, the defendant has already brought
 7                  an identical motion, which this Court denied on the merits. Dkt. 420.
                    This Court also rejected the defendant’s motion for reconsideration.
 8                  Dkt. 431. There is no reason for this Court to revisit this question
                    yet again. His third motion—this time filed pro se—presents
 9
                    essentially the same claims.
10
     Case No. 16-cr-7-RSM, Dkt. #456 at 1 (citing Case No. 12-cr-339-RSM, Dkt. #60 at 1–2).
11
             Mr. Wells presents no new information about his health. The only new facts presented
12
     are written out on half a page and deal with the number of inmates at FCI Sheridan who have
13

14   contracted COVID-19 and the conditions at that facility. Mr. Wells alleges that 41 inmates have

15   contracted the virus.
16           A full recitation of the applicable legal standard is unnecessary, and the Court
17
     incorporates the legal standard set forth in its prior Order. See Case No. 16-cr-7-RSM, Dkt.
18
     #420. The Court there ruled:
19
                    By all accounts Mr. Wells is a healthy 37-year-old without any
20                  known risks associated with a higher chance of mortality or serious
21                  injury from COVID-19. The conditions described at FCI Sheridan,
                    although no doubt challenging and uncomfortable, do not alone
22                  create an extraordinary and compelling reason to release all inmates
                    regardless of individual health issues. Given the above, the Court
23                  finds no extraordinary and compelling reason to grant the requested
                    relief and the Court need not proceed through Mr. Wells’s Section
24                  3553 factors or any other considerations.
25
     Id. at 4–5.
26

27


     ORDER DENYING MOTION FOR COMPASSIONATE RELEASE – 2
               Case 2:12-cr-00339-RSM Document 67 Filed 01/11/21 Page 3 of 3




            On August 31, 2020, after reviewing new information submitted by Mr. Wells in a motion
 1

 2   for reconsideration, including his Body Mass Index (“BMI”), the Court stated:

 3                  Mr. Wells remains a healthy 37-year-old. The Court was previously
                    aware of Mr. Wells’ obesity. The CDC now acknowledges that
 4                  obesity with a BMI of 30 or higher is a risk factor for severe illness
                    from COVID-19. However, given Mr. Wells’ age and lack of other
 5
                    health conditions, the Court finds that his BMI of 33.5 alone fails to
 6                  significantly increase his risk from COVID-19 to constitute
                    extraordinary and compelling reasons for release. The other new
 7                  information—four positive cases at FCI Sheridan—does not
                    indicate to the Court that there is a widespread outbreak of COVID-
 8                  19 or that such places him at higher risk of complications from
                    COVID-19 compared to his risk if released.
 9

10   Case No. 16-cr-7-RSM, Dkt. #431 at 4.

11          This latest Motion does not include any new health concerns specific to Mr. Wells.
12   Although he has included new information about the number of inmates who have contracted
13
     COVID-19, he lists no new significant risks to him from COVID-19 and the Court finds no
14
     reason to deviate from its prior rulings on this matter.
15
            Accordingly, having reviewed the Motion, along with the remainder of the record, the
16

17   Court hereby finds and ORDERS that Defendant’s Third Motion for Compassionate Release,

18   Case No. 16-cr-339-RSM, Dkt. #66, Case No. 16-cr-7-RSM, Dkt #478, is DENIED.

19          DATED this 11th day of January, 2021.
20

21

22

23
                                                    A
                                                    RICARDO S. MARTINEZ
                                                    CHIEF UNITED STATES DISTRICT JUDGE
24

25

26

27


     ORDER DENYING MOTION FOR COMPASSIONATE RELEASE – 3
